      Case 2:23-cv-02224-SHL-atc          Document 453         Filed 07/17/25   Page 1 of 4
                                          PageID 6210



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 RowVaughn Wells, Individually and as                   )
 Administratrix of the Estate of Tyre Deandre           )
 Nichols, Deceased,                                     )
                                                        )
                                                        )
         Plaintiff,                                     )
                                                        )
 v.                                                     )   CASE NO. 2:23-CV-02224-SHL-atc
                                                        )   JURY DEMAND
 The City of Memphis, Tennessee; Chief Cerelyn          )
 Davis; Emmitt Martin III;                              )
 Demetrius Haley; Justin Smith;                         )
 Desmond Mills, Jr.; Tadarrius Bean;                    )
 Preston Hemphill; Robert Long;                         )
 JaMichael Sandridge; Michelle Whitaker;                )
 DeWayne Smith,                                         )
                                                        )
         Defendants.                                    )


             CITY OF MEMPHIS’S MOTION TO COMPEL PLAINTIFF
        PURSUANT TO CITY’S FOURTH, FIFTH, AND NINTH REQUESTS FOR
                       PRODUCTION OF DOCUMENTS


        Defendant City of Memphis (the “City”), pursuant to Federal Rule of Civil Procedure 37

and Local Rule 7.2, moves this Court for an Order compelling Plaintiff to produce documents

responsive to the City’s Fourth Set of Requests for Production, Fifth Set of Requests for

Production, and Ninth Set of Requests for Production. The City further seeks an order

compelling Plaintiff to produce for forensic testing, sampling, and/or examination a number of

items in Plaintiff’s possession, custody, or control.

        In support of this Motion, the City states that as follows:
     Case 2:23-cv-02224-SHL-atc           Document 453         Filed 07/17/25      Page 2 of 4
                                          PageID 6211



       1.      Plaintiff’s baseless objections to the Ninth RFPs are improper because the items

requested are relevant to the claims and defenses in this case and may bear directly on Plaintiff’s

account of events and damages.

       2.      Plaintiff’s objections on the basis of overbreadth, relevance, and burden with

regard to Request Nos. 46–126 and 133–141 are improper because these Requests seek

information about individuals specifically identified by Plaintiff in her First Amended

Complaint, her Rule 26(a)(1) disclosures, and/or her own discovery requests.

       3.      Plaintiff’s responses to Request Nos. 127–129 are deficient because these

Requests seek communications between Plaintiff (including her counsel) and third-parties related

to the present litigation. Specifically, the City is entitled to any communications Plaintiff has had

with the Court, including clerks or other staff members, as ex parte communications are

improper. Additionally, because the Plaintiff has repeatedly stressed the importance of the

connection between the DOJ’s pattern or practice investigation1 and this litigation, the City’s

narrowly tailored requests for communications and documents exchanged with the DOJ are both

relevant and proportional.

       4.      Finally, Plaintiff’s responses and objections are improper for the additional

reasons that they (1) improperly assert a number of privileges, (2) hedge by asserting that

materials are “publicly available” or within the City’s possession; (3) fail to state whether

documents are being withheld; (4) fail to identify which documents are responsive to which

requests,




1
 The findings report issued based upon this investigation has been officially withdrawn in its
entirety due to concerns of reliance on flawed methodology and incomplete data.
     Case 2:23-cv-02224-SHL-atc           Document 453        Filed 07/17/25      Page 3 of 4
                                          PageID 6212



       5.      The City further relies on its Memorandum of Law in Support of this Motion,

which is being filed under seal contemporaneously with this Motion.

       The City respectfully requests the Court enter an Order compelling Plaintiff to produce

responsive documents and produce items for further testing, sampling, and/or examination.

                                                      Respectfully submitted,

                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, P.C.

                                                      s/ Bruce McMullen
                                                      Bruce McMullen (#18126)
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                                                      Attorneys for Defendant City of Memphis,
                                                      Chief Cerelyn Davis in her Individual
                                                      Capacity, and Dewayne Smith as Agent of
                                                      the City of Memphis


                             CERTIFICATE OF CONSULTATION

       I, Bruce McMullen, certify that in April of 2025, the parties conferred on Plaintiff’s

objections to the Fourth and Fifth RFPs through letter correspondence and email. The parties are

at an impasse as to these Requests. Additionally, the parties held a virtual meeting on Plaintiff’s

objections to the Ninth RFPs on July 16, 2025, but the parties did not reach an agreement as to

the Request 161.

                                                              s/ Bruce McMullen
                                                              Bruce McMullen
    Case 2:23-cv-02224-SHL-atc         Document 453       Filed 07/17/25    Page 4 of 4
                                       PageID 6213



                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been served upon all
other counsel of record and the Guardian Ad Litem via the Court’s ECF system on July 17, 2025.



                                                   s/ Bruce A. McMullen
